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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSY§VANIA

JOHN DOE,
Plaintiff, '
v. : NO. 04~CV-2427
REV. ALBERT M. LIBERATORE, : JUDGE CAPUTO
JR., DIOCESE OF SCRANTON, .
SACRED HEART OF JESUS CHURCH, : ELECTRONICALLY FILED

BISHOP JAMES C. TIMLIN, :
REV. JOSEPH R. KOPACZ and .
BROTHER ANTONIO F. ANTONUCCI,:

Defendants.

 

PLAINTIFF'S TRIAL BRIEF

 

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Attozn@ys for Plai§tiff,
John Doe

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I. Child Abuse Victims' Rights Act

?he Child Ahuse Victims Rights Act, 18 U.S.C. §
2255, provides a vehicle for minor victims of sexual
abuse to sue in federal court for damages sustained as a
result of the abuse. The statute, as amended on Joly

27, 2006, provides in relevant part:

Any person Who, while a minor, was a
victim of a violation of section
2241(c), 22Q2, 2243, 2251, 2251§, 2252,
2252A, 2260, 2€21, 2422, or 2423 of
this title and who suffers personal
injury as a result of such violation,
regardless of whether the injury
occurred while such person was a minor,
may sue in any appropriate United
States District Court and shall recover
the actual damages such person sustains
and the cost of the suit, including a
reasonable attorney’s fee. Any person
as described in the preceding sentence
shall be deemed to have sustained
damages of no less than $lE0,000 in
value.

18 U.S.C. § 2255{a}. Plaintiff donn Doe (“Doe”) is a
victim of violations of 28 U.S.C. §§ 242l, 2422(a),

2422{b}, 2§23{a), 2§23(b) and 2é23{c) and suffered

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personal injury as a result and is therefore entitled to
recovery of damages under 18 U.S.C. § 2255{a).

Defendant Rev. Albert M. Liberatore, Jr.’s guilty pleas
constitute conclusive proof of the facts alleged in the
criminal charges and therefore constitute conclusive
proof of the crimes which form the basis for Doe’s claim
under the Child Abuse Victims' Rights Act. §ee
Commonwealth, Den’t of Trans©. v. Mitchell, 517 Pa. 203,
210-l2, 535 A.Zd 581, 58€“85 (198?) (conviction stemming
from guilty plea is equivalent to conviction after jury

trial and is admissible in civil case as conclusive

proof of facts alleged in criminal charge).

II. Assault and Battery

Pursuant to the Restatement (Second) of Torts §

21(1), a defendant may be held liable for assault if:

(a) he acts intending to cause a
harmful or offensive contact with the
person of the other or a third person,
or an imminent apprehension of such a
contact, and {b) the other is thereby
put in such imminent apprehension.

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Nardella v. Dattilo, 36 Pa. D. & C.eth 36§, 369 (Dauphin
County 1997} {guoting Restatement (Second) of Torts §
Zl(l)); see also Sides v. Cleland, 436 Pa. Super. 618,
626, 648 a.Zd 793, 796 {1994), appeal denied, 540 Pa.

613, 656 a.£d l19 (1995).

in accordance with the Restatement (Second) of
Torts § 13, a defendant commits a battery if:

(a) he acts intending to cause a

harmful or offensive contact with the

person of the other or a third person,

or an imminent apprehension of such a

contact, and (b) a harmful contact with

the person of the other directly or

indirectly results.
Nardella, 36 Pa. D. & C.éth at 370 (guoting Restatement
(Second) of lorts § 13)). Unlike assault, the actor
must achieve a harmful or offensive contact with another
person to commit a battery. ld.; see also Field v.

?hiladelphia Elec. Co., 388 Pa. Super. 400, 416»17, 565

A.Zd ll?O, 1178 (1989).

lnappropriate sexual contact between a priest

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and a parishioner may properly give rise to claims for
assault and battery. ee Nardella, 36 Pa. D. a C.éth at

370%71.

III. Negligent Supervision and Retention

Employers in Pennsylvania have a duty to
exercise reasonable care in selecting, supervising and
controlling employees. See, e.o., Hutchison v. Luddv,
560 Pa. 51, 742 A.Zd 1052 (l999). The basis for such a
claim is Section 317 or the Restatement (Second) of

Torts which provides:

n master is under a duty to exercise
reasonable care so to control his
servant while acting outside the scope
of his employment as to prevent him
from intentionally harming others or
from so conducting himself as to create
an unreasonable risk of bodily harm to
them, if

{a) the servant

(i) is upon the premises
in possession of the
master or upon which the

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servant is privileged to
enter only as his servant,
or

(ii) is using a chattel
of the master, and

(b) the master

(i) knows or has reason
to know that he has the
ability to control his
servant, and

(ii) knows or should know
of the necessity and
opportunity for exercising
such control.

Restatement (Second) or Torts § 317.l Comment c to that

 

l Section 2l3 of the Restatement {Second} of hgency also
recognizes an employer’s duty to properly select employees.
See Demnsev v. Walso Bureau, Inc., §31 Pa. 562, 566, 246 A.Zd
§18, 421 {1968). That section reads as iollows: “A person
conducting an activity through servants or other agents is
subject to liability for harm resulting from his conduct if he
is negligent or reckless: . . . (b) in the employment of
improper persons or instrumentalities in work involving risk
of harm to others; {c} in the supervision of that activity; or
(d} in permitting, or failing to prevent, negligent or other
tortious conduct by persons, whether or not his servants or
agents, upon premises or with instrumentalities under his
control.” The comment under that section states: “An agent,
although otherwise competent, may be incompetent because of

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section provides:

Retention in employment of servants
known to misconduct themselves. There
may be circumstances in which the only
effective control which the master can
exercise over the conduct of his
servant is to discharge the servant.
Therefore the master may subject
himself to liability under the rule
stated in this Section by retaining in
his employment servants who, to his
knowledge, are in the habit of
misconducting themselves in a manner
dangerous to others. This is true
although he has without success made
every effort to prevent their
misconduct by the exercise of his
authority as master.

Restatement {Second) of Torts § BlV at Comment c.

The Pennsylvania Superior Conrt addressed a
claim of negligent supervision in Coath v. Jones, 277
Pa. Super. 479, 4l9 A.Zd l249 (1980). The employee in

Coath raped the plaintiff after having gained entry into

 

his reckless or vicious disposition, and, if a principal,
without exercising due care in selection, employs a vicious
person to do an act which necessarily brings him in contact
with others while in the performance of a duty, he is subject
to liability for harm caused by the vicious propensity.”

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her home by representing that he was there at his
en@loyer’s direction and on his employer’s business.
The plaintiff alleged that the employer knew or should
have known of the perpetrator’s propensity for violence
against women and was therefore negligent in hiring and
retaining the perpetrator. The trial court sustained
the employer's preliminary objections to the complaint
and the Superior Court reversed. The Court explained
that “the defendant could be found negligent if [the
employeel was known to have the inclination to assault
women or if the defendant should have known that.” ld.
at 483, 419 A.Zd at 1259. The Court relied in part on
Section 302B of the Restatement (Second) of Torts which
provides:

nn act or omission may he negligent if

the actor realizes or should realize

that it involves an unreasonable risk

of harm to another through the conduct

of a third person which is intended to

cause harm, even though such conduct is

criminal.

Restatement (Second) of Torts, § 3023.

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The Pennsylvania Supreme Court considered a
negligent hiring claim in the context of clergy sexoal
abuse in Hutchison v. buddyr 560 Pa. Sl, 742 A.Zd 1052
(1999). The plaintiff in Hutchison claimed that he was
molested by a priest for a number of years, both in the
priest’s rectory bedroom and on at least two occasions
in a motel room. He brought suit against the priest,
the church to which the priest was assigned, the diocese
and the bishop of the diocese. He claimed, inter alia,
that the diocese and bishop knew or should have known
that the priest was predisposed to engage in pedophilic
behavior and therefore owed a duty to prevent the priest
from having contact with children. The jury found in
favor of the plaintiff. ?he Superior Court reversed the
jury’s verdict, holding that the plaintiff had failed to
establish liability under Section 3l7. The Supreme
Court reversed and held that the jury could reasonably
have found liability under that section. The Supreme
Court was persuaded by the facts that the bishop and
diocese knew that the priest had a propensity for

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pedophilic behavior and were aware of several specific
instances of such conduct. They also knew that placing
an abusive priest in a position in which he would have
contact with children would afford him ample opportunity
to commit further acts of abuse. Accordingly, they had
a duty to take appropriate precautions to prevent the
priest from molesting more children, epg%, by assigning
him to a position in which he would not have any contact
with children, by ensuring that he sought treatment or
by terminating his employment altogether. The Court

explained:

Bishop Hogan and the Diocese . . . did
not attempt to prevent the foreseeable
harm, and instead undertook a course of
conduct that increased the risk that
Luddy would abuse Michael and other
children. lnstead of keeping him away
from children altogether, they
disregarded Luddy's misconduct and
allowed him to have unsupervised
contact with children. Instead of
responding to Luddy's pedophilic
behavior, they concealed and ignored
it. Bishop nogan and the Diocese knew
tuddy’s history and were in a position
to prevent him from repeating it, yet
for years they willfully allowed him to

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go on molesting children with impunity.
Their inaction in the face of such a
menace is not only negligent, it is
reckless and abhorrent. Henceir Bishop
Hogan and the Diocese are as
responsible as huddy for the harm done
to Michael, or, as the jury found, even
more liable than the mclester himself.

ld. at 65, 742 A.Zd at 1059.

The central issue on appeal to the Supreme
Court in Hutchison was the privilege element of the
location requirement in Section 317{a)(i). The Superior
Court had reversed the jury verdict on the grounds that
the motel room, the site of the assaults which were not
time~barred, was not owned or controlled by the church.
The Supreme Court rejected this reasoning and explained
that neither ownership of the premises nor the priest's
purpose in entering the room was dispositive: “What
Luddy did or intended to do once he was in the motel
room is irrelevant. vaiously, no one is ever
privileged to enter a room for the purpose of sexually

abusing someone. The issue is not what [the priestl

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intended to do once he entered the room, but how he
gained access to the room in the first place, i.e.,
because of his position as a priest or for some other
reason.” lgw at 57, 742 A.Zd at 1060. The jury could
properly have found that the priest was privileged to
enter the motel room only as a priest and spiritual
advisor. The bishop himself testified: “lf you're a
priest, you’re a priest twenty"four hours a day, every
day ot the year.” ld$ at 69, 742 A.Zd at l062.
Moreover, the jury could have reasonably concluded that
it was the defendant’s status as a priest that created
and perpetuated the relationship that afforded him
access to the plaintiff’s motel room. Accordingly, the
privilege element or Section 317(a)(i) was satisfied and
the jury's verdict against the diocese and the bishop
under Section 3l7 was legally sustainable. ld; at 69“

70, ?§2 A.Zd at lO@Z.

A complete lack of supervision may also give

rise to employer liability. In a case involving

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allegations of fraud by a home builder, the Superior
Court held that “the total absence of supervision once
on the job exposes the employer/defendant to

‘constructive notice’ that Lthe employee] was engaging
in activity mushrooming into criminal behavior ”

Heller v. Patwil Homes, Inc., 713 A.Zd lOS, l09 (?a.

Super. 1998).

IV. Negligence Per Se

At the time that Doe was being abused, there
was in effect in Pennsyivania a law called the Child
Protective Services not which requires personsF
including members of the clergy, to report suspected
instances of child abuse to appropriate governmental

officials. That statute reads as rollows:

Persons who, in the course of their
employment, occupation or practice of
their protession, come into contact
with children shall report or cause a
report to be made in accordance with
section 6313 (relating to reporting
procedure) when they have reasonable
cause to snspect, on the basis of their

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medical, professional or other training
and experience, that a child coming
before them in their professional or
official capacity is an abused child.

23 ?a. C.S.A. § 63ll(a).2 The Child Protective Services
Act also requires that persons in charge of an
institution or their designated agents relay reports of
abuse that are communicated to their subordinates. That

portion of the statute reads as follows:

Whenever a person is required to report
under subsection (b) in the capacity as
a member of the staff of a medical or
other public or private institution,
school, facility or agency, that person
shall immediately notify the person in
charge of the institution, school,
facility or agency or the designated
agent or the person in charge. Upon
notification, the person in charge or
the designated agent, if any, shall
assume the responsibility and have the
legal obligation to report or cause a
report to be made in accordance with
the section 6313.

23 Pa. C.S.A. § 63ll(c}. ?he reports are to be made to

 

2 The act was amended as of hay 29, 299?. The language cited
above was included in the statute that was in ef§ect on the dates
that Doe was harmed.

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the Department of Public Welfare or to the appropriate
county agency pursuant to the procedure set forth in 23
Pa. C.S.A. § 6313. Prior to May 29, 2007, a person or
official who willfully failed to report a case of
suspected child abuse commits a summary offense for the
first violation and a misdemeanor of the third degree
for a second or subsequent violation. 23 Pa. C.S.A. §

6319.

Persons required to make a report to government
officials under the Child Protective Services act
include “any member of the clergy.” 23 Pa. C.S.A. §
GBll{b). lt has already been decided that the
individual Defendants, including Defendants Bishop James
C. Timlin and Rev. doseph R. Kopacz, qualify as “members
of the clergy” who are required to report under the
statute and that all of the Defendants were in
sufficient contact with Doe to bring them within the
reporting requirements of the statute. Wee boe v.

hiberatore, é78 F. Supp.Zd 742, 76€ (M.D. Pa. 2007).

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Violation of a statute like the Child
Protective Services Act results in negligence per se
where the statute creates a duty that has been breached
and such negligence is the proximate cause of the injury
complained of. See J.E.J. v. Tri~Countv Big
Brothers/Big Sisters, lnc., 692 A.Zd 582, 585 {Pa.
Super. l997). The Pennsylvania Superior Court explained

the concept of negligence per se as follows:

The concept of negligence per se
establishes both duty and the required
breach of duty where an individual
violates an applicable statute,
ordinance or regulation designed to
prevent a public harm. h plaintiff,
however, having proven negligence per
se, cannot recover unless it can be
proven that such negligence was the
proximate cause of the injury.
Moreover, in analyzing a claim based on
negligence per se, the purpose of the
statute must be to protect the interest
of a group of individuals, as opposed
to the general public, and the statute
must clearly apply to the conduct of
the defendant.

ld. A.Zd at 535.

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The Chiid Protective Services Act dictates the
duty of care required of someone in the same situation
as the Defendants in this case. Their sloughing off of
responsibility for reporting concerns regarding Doe is
precisely the harm that the statute was intended to
prevent. The inaction by the Diocese of Scranton,
Sacred Heart ot Jesus Churcn, Bishop Timlin and Fr.
Kopacz constitutes a clear violation of the obligation
imposed by 23 Pa. C.S.A. § 6321 and is sufficient to
support a finding of negligence per se. §eey eggg,
Jordan v. Philadelphia, 66 F. Supp.Zd 638, 6§4 (E.D. Pa.
l999) {violation of statute gives rise to negligence per
se where statute creates duty that was breached and
negligence is proximate cause of injury).

V. Intentional Infiiction of Emotional

Distress

To state a claim for intentional infliction of

emotional distress, a plaintiff must show that the

defendant, by extreme and outrageous conduct,

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intentionally or recklessly caused him to suffer severe
emotional distress and resulting bodily harm. dohnson
v. Caparelli, 425 Pa. Super. 404, 4l2, 625 A.2d 668,
671W72 {l993), appeal denied, 538 Pa. 635, 647 A.Zd Bll
(l99e). The conduct must be outrageous in character and
so extreme in degree as to go beyond all possible bounds
of decency and be regarded as atrocious and utterly
intolerable in a civilized community. id4 Sexual abuse
of a minor by a priest is, ot course, sufficiently
extreme and outrageous to permit recovery by the minor
under a theory of intentional infliction of emotional

distress. ld. at 4l2, 652 A.2d at 672.

VI. Breach of Fiduciary Duty

Section 874 of the Restatement {Second) of
Torts provides that “{a] person standing in a fiduciary
relation with another is subject to liability to the
other for harm resulting from a breach of the duty
imposed by the relationship.” Restatement (Second) of
Torts § 874. Comment (a) to that section states: “A

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fiduciary relation exists between two persons when one
of them is under a duty to act for or to give advice for
the benefit of another upon matters Within the scope of
the relation.” Restatement {Second) of Torts at Comment
a. The Pennsylvania Supreme Court has held that a
fiduciary or confidential relationship exists “whenever
one person has reposed a special confidence in another
to the extent that the parties do not deal with each
other on equal terms, either because of an overmastering
dominance on the one side, or weakness, dependence or
justifiable trust, on the other.” ln re Estate of
Clark, 467 Pa. 628, 635, 359 A.2d 777, 781 (1976)
(citations omitted}. Pennsylvania recognizes a
fiduciary duty claim where a minor child is entrusted to
the care of a member of the clergy to participate in
church activities and the minor child is sexually
molested during the entrustment. §ee, ewg;, Qge, 478 F.

Supp.£d at 772-73.

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VII. Punitive Damages

lhe Pennsylvania Supreme Court recently
reaffirmed the standard for imposition of punitive

damages as follows:

“Punitive damages may be awarded for
conduct that is outrageous, because of
the defendant’s evil motive or his
reckless indifference to the rights of
others.” Feld v. Merriam, 506 Pa. 383,
485 A.Zd 742, 747 (1984) (quoting
Restatement (Second) of Torts § 908{2}
(l979); see also Chambers v,
Montgomery, ill Pa. 339, l92 A.Zd 355,
358 {1963). As the name suggests,
punitive damages are penal in nature
and are proper only in cases where the
defendant’s actions are so outrageous
as to demonstrate willful, wanton or
reckless conduct. See SHV Coal, lnc.
v. Continental Grain Co., 526 Pa. a89,
587 A.Zd 781, 704 (l991); Feld, 485
A.Zd at 747*48; Chambers, l92 A.Zd at
358. §ee also Restatement (Second) of
Torts § 908, comment b. The purpose of
punitive damages is to punish a
tortfeasor for outrageous conduct and
to deter him or others like him from
similar conduct. Kirkbride v. Lisbon
Contractors, lnc., 52l Pa. 97, 555 A.Zd
800, 803 (1989); hestatement {Second)
of Torts § 988(1) §“?unitive damages
are damages, other than compensatory or
nominal damages, awarded against a

 

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person to punish him for his outrageous
conduct and to deter him and others
like him from similar conduct in the
future.”) Additionally, this Court has
stressed that, when assessing the
propriety of the imposition of punitive
damages, “the state of mind of the
actor is vital. The act or failure to
act, must be intentional, reckless or
malicious." §ee Feld, 485 A.Zd at 748;
see also Martin v. dohns“Mansville
Corp., 508 Pa. l54, €94 A.Zd 1088, 1097
n.12 (l985) (plurality opinion}.

hutchison v. Luddv, 582 Pa. 114, l2l»22, 828 A.Zd 766,

 

770~71 (2805). The Hutchison Court went on to describe
the distinction between persons who know or have reason
to know of facts which create a high degree of risk of
physical harm to another and act with deliberate
indifference to that risk and persons who know or have
reason to know of facts which create a risk but do not
realize or appreciate the high degree of risk involved
although a reasonable person in his position would do
so. ld* at 122*23, 878 A.Zd at 77l. Only the first
type of reckless conduct is sufficient to create a jury

question on the issue of punitive damages. The

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Hutchison Court explained:

[i§n Pennsylvania, a punitive damages
claim must be supported by evidence
sufficient to establish that (l) a
defendant had a subjective appreciation
of the risk of harm to which the
plaintiff was exposed and that (2) he
acted, or failed to act, as the case
may be, in conscious disregard of that

risk.

Id. at 12€, 870 A.Zd at 772.

In that case, the Supreme Court reversed the

decision of the Superior Court which held that punitive

damages are never available for claims
supervision based on Section 317. The
explained that there is nothing in law
prevent a plaintiff in a case sounding
from undertaking the additional burden

prove that the defendant's conduct was

of negligent
Supreme Court

or logic to

in negligence

of attempting to

also outrageous

and therefore warrants an award of punitive damages:

The fact that a cause of action
bottomed on negligence does not require
proof of the heightened showing of

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culpability necessary to sustain
punitive damages in order to secure the
underlying compensatory damages does
not mean that punitive damages mee as
an element of damages ~-- should be
deemed automatically unavailable, even
if the conduct of the defendant{s) went
well beyond negligence and into the
realm of the outrageous. The Penal and
deterrent purpose served by an award of
punitive damages is furthered when the
outrageous conduct occurs in a case
sounding in negligence no less than
when an intentional tort is at issue.

ld. at l2€, 870 A.Zd at 772. Thus, “there is no general
proscription in law against pursuing punitive damages in
the Section 317 context, where the facts so warrant” and

punitive damages may properly be awarded in connection

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with a claim of negligent supervision. id. at l25, 878

A.Zd at 773.

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Date:

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November 5,

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L.L.P.

Respectfully submitted,

/s/ Daniel T. Brier
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CERTIFICATE OF SERVICE

I, DANIEL T, BRIER, hereby certify that a true
and correct copy of the foregoing Trial Memorandum was
served upon the following counsel of record by

electronic mail on this 5th day of November, 2007:

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